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·2· · · · · ·UNITED STATES DISTRICT COURT

·3· · · ·FOR THE WESTERN DISTRICT OF VIRGINIA

·4
· ·   ·ELIZABETH SINES, et al.,· · · ·)
·5·   · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · ·Plaintiffs,· · )
·6·   · · · · · · · · · · · · · · · · ) Case No.
· ·   · · · · · · ·vs.· · · · · · · · ) 3:17-cv-00072-NKM
·7·   · · · · · · · · · · · · · · · · )
· ·   ·JASON KESSLER, et al.,· · · · ·)
·8·   · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · ·Defendants.· · )
·9·   ·-------------------------------)

10

11

12· · · · · · · ·STATEMENT ON THE RECORD

13· · · · · · · ·Thursday, July 2, 2020

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16

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22

23· ·Reported by:
· · ·FRANCIS X. FREDERICK, CSR, RPR, RMR
24· ·JOB NO. 180765

25


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                                                  Page 2                                                     Page 3
·1                                                         ·1
·2                                                         ·2· ·A P P E A R A N C E S:
·3                                                         ·3· · · · · · · ·(All counsel and participants
·4                                                         ·4· · · · ·present via videoconference and/or
·5· · · · · July 2, 2020                                   ·5· · · · ·teleconference due to COVID-19
·6· · · · · 11:02 a.m.                                     ·6· · · · ·restrictions.)
·7                                                         ·7
·8· · · · · STATEMENT ON THE RECORD before                 ·8· · · · ·BOIES SCHILLER FLEXNER
·9· ·Francis X. Frederick, a Certified                     ·9· · · · ·Attorneys for Plaintiff
10· ·Shorthand Reporter, Registered Merit                  10· · · · · · · ·1401 New York Avenue, N.W.
11· ·Reporter and Notary Public of the States              11· · · · · · · ·Washington, DC· 20005
12· ·of New York and New Jersey.                           12· · · · ·BY:· ·JESSICA PHILLIPS, ESQ.
13                                                         13· · · · · · · ·KATHERINE CHENG, ESQ.
14                                                         14
15                                                         15· · · · ·KOLENICH LAW OFFICE
16                                                         16· · · · ·Attorneys for Defendant
17                                                         17· · · · · · · ·9435 Waterstone Boulevard
18                                                         18· · · · · · · ·Cincinnati, Ohio· 45249
19                                                         19· · · · ·BY:· ·JAMES KOLENICH, ESQ.
20                                                         20
21                                                         21· · · · ·DUANE HAUCK DAVIS GRAVATT & CAMPBELL
22                                                         22· · · · ·Attorneys for James Alex Fields, Jr.
23                                                         23· · · · · · · ·100 West Franklin Street
24                                                         24· · · · · · · ·Richmond, Virginia· 23220
25                                                         25· · · · ·BY:· ·DAVID CAMPBELL, ESQ.


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·1                                                         ·1·   ·ROUGH DRAFT - NOT A FINAL TRANSCRIPT
·2· ·A P P E A R A N C E S:· (Cont'd.)                     ·2·   · · · · MS. PHILLIPS:· My name is Jessica
·3                                                         ·3·   · Phillips.· I represent the plaintiffs in
·4· ·ALSO PRESENT:                                         ·4·   · Sines versus Kessler.· The docket number
·5                                                         ·5·   · is 3:17-cv-00072-NKM.· The date is July· ·11:01
·6· · · · ·MICHAEL ARRISON, Videographer                   ·6·   · 2nd, 2020.
·7                                                         ·7·   · · · · In addition to myself, Mr. Jim
·8                                                         ·8·   · Kolenich and I believe Mr. Dave Campbell
·9                                                         ·9·   · are present on this virtual deposition.
10                                                         10·   · This is supposed to be the deposition of· 11:02
11                                                         11·   · Elliot Kline, a/k/a Eli Mosley.· The
12                                                         12·   · deposition was supposed to begin at 9:30
13                                                         13·   · a.m. eastern time E it is now 11 '02
14                                                         14·   · a.m. eastern time.· A deposition notice
15                                                         15·   · was sent to Mr. Kline by e-mail ^ STOP· · 11:02
16                                                         16·   · on June 1st, 2020.· The deposition
17                                                         17·   · notice itself will be marked as Exhibit
18                                                         18·   · 1.· The e-mail sending Mr. Kline the
19                                                         19·   · deposition notice to three different
20                                                         20·   · e-mail addresses will be marked as· · · · 11:02
21                                                         21·   · Exhibit 2.· My previous correspondences
22                                                         22·   · to Mr. Kline attempting to get his input
23                                                         23·   · on the date depositor his deposition
24                                                         24·   · which were dated May 5th, 2020, and May
25                                                         25·   · 24th, 2020, will be marked as Exhibits 3· 11:02

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·1·   ·ROUGH DRAFT - NOT A FINAL TRANSCRIPT
·2·   · and 4 respect actively.· The plaintiffs
·3·   · received no response to any of their
·4·   · inquiries or e-mails sent to Mr. Kline.
·5·   · · · · I was not informed by Mr. Kline at· 11:03
·6·   · any point that he did not plan to attend
·7·   · today's deposition.· I've attempted to
·8·   · reach Mr. Kline today.· I've called Mr.
·9·   · Kline twice.· Sent him a sect message,
10·   · and sent him an e-mail to all three of· · 11:03
11·   · his e-mail addresses.· I have heard no
12·   · response.
13·   · · · · I reserve all of the plaintiff's
14·   · rights to notice the deposition for
15·   · another time and date, to move to compel· 11:03
16·   · Mr. Kline to appear for this deposition,
17·   · to seek sanctions against Mr. Kline
18·   · including reimbursement for the costs
19·   · incurred end hiring the court reporter
20·   · and videographer.· Plaintiff reserve all· 11:03
21·   · other rights and with that we can go off
22·   · of the record.· Thank you.
23·   · · · · THE COURT REPORTER:· Off the
24·   · record.
25·   · · · · (Time Noted:· · · 11:03 a.m.)· · · ·11:03




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